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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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10    GREGORY FRANKLIN,                            Case No. CV 21-3577-CBM (KK)
11                               Plaintiff,
12                        v.                       ORDER ACCEPTING FINDINGS
                                                   AND RECOMMENDATION OF
13    R. FRANKLIN,                                 UNITED STATES MAGISTRATE
                                                   JUDGE
14                               Defendant(s).
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17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, the
18   relevant records on file, and the Report and Recommendation of the United States
19   Magistrate Judge. No objections have been filed. The Court accepts the findings and
20   recommendation of the Magistrate Judge.
21         IT IS THEREFORE ORDERED that Judgment be entered dismissing this
22   action without prejudice.
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24   Dated: NOVEMBER 17, 2021
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                                              HON. CONSUELO B. MARSHALL
26                                            Senior United States District Judge
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